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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

FRANCIS SCHAEFFER COX,

                  Plaintiff,                          Case No: 3:18-cv-3367-B
v.

BENBELLA BOOKS, INC., at al

                  Defendants.




 PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL PURSUANT TO FEDERAL
               RULES OF CIVIL PROCEDURE RULE 41(a)(2)

       Plaintiff Francis Schaeffer Cox (“Cox”) hereby moves this Court for an order granting

voluntary dismissal, without prejudice, of this entire action, with each party to bear its own

attorneys fees and costs.

       At the time that Cox filed this Complaint on December 20, 2018, Cox believed in good

faith that the subject publication, The Blood of Patriots: How I Took Down An Anti-Government

Militia with Beer, Bounty Hunting, and Badassery (the “Book”), was published at the end of

2017, which would have put Cox within the 1-year statute of limitations for libel under Texas

law. Indeed, the Book itself lists only the year 2017 generally as the copyright date. See ECF No.

11 at 9 (Def’s App. 7). The complaint also contains other counts for Intentional Infliction of

Emotional Distress and Misappropriation of Name and Likeness, which statute of limitations are

2 years in Texas and thus was timely in any event. However, with the information set forth in

Defendants’ Motion to Dismiss and Appendix in mind, specifically the Copyright Registration

from the U.S. Copyright Office listing a publication date of September 19, 2017, ECF No. 11 at

291 (Def’s App. 289), Cox has decided to voluntarily dismiss this case. However, still, without

discovery it remains unclear when the book was indeed actually published and put in commerce.


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       This matter is still in its initial stage. Counsel for Plaintiff, out of professional courtesy

and in good faith, informed counsel for Defendants on March 6, 2019 that Cox would be

voluntarily dismissing the Complaint and asked for consent. Exhibit 1. Counsel for Defendants

“cleverly” then rushed to file an Answer to Plaintiff’s Complaint – in order to force Cox to make

this motion instead of simply filing a notice – before even providing a response to counsel for

Plaintiff that they do not consent. Exhibit 1. However, it is clear that the parties are in the same

substantial position as they were on March 6, 2019. As such, Plaintiff Schaeffer Cox respectfully

requests that this Court grant Cox’ motion to voluntarily dismiss, with each party to bear its own

fees and costs, as it would have under Fed. R. Civ. P. 41(a)(1).

Dated: March 11, 2019                                 Respectfully submitted,

                                                  /s/ Larry Klayman
                                                  Larry Klayman, Esq.
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                                                  Attorney for Plaintiff


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

March 8, 2019


                                                      /s/ Larry Klayman




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